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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
                                        )
CARL BARNES, et al.,                   )
      Plaintiffs,                      )
                                       )
             v.                        )    Civil Action No. 06-315 (RCL)
                                       )
DISTRICT OF COLUMBIA,                  )
      Defendant.                       )
                                       )
_______________________________________)


                                             ORDER

       Before the Court is plaintiffs’ Motion for Leave to Amend Second Amended Complaint

for Money Damages and Injunctive Relief and Jury Demand [174]. Upon consideration of the

motion, the opposition thereto [186], the reply brief [187], the Court will grant the motion.

       As a threshold matter, the Court agrees with plaintiffs that the Court should review this

motion under Rule 15—not Rule 16—of the Federal Rules of Civil Procedure. The District

argues that the Court should construe this motion as a motion to modify the scheduling order

under Rule 16. Rule 16(b)(3)(A) provides: “The scheduling order must limit the time to . . .

amend the pleadings.” “A schedule may be modified only for good cause.” Fed. R. Civ. P.

16(b)(4). But the scheduling orders in this case have never set a deadline for amending the

pleadings. Thus, the Court need not modify a scheduling order to permit plaintiffs to amend their

pleading.

       Under Rule 15, plaintiffs may amend their pleading anytime before trial with the Court’s

leave. Fed. R. Civ. P. 15(a)(2). “The court should freely give leave when justice so requires.” Id.




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The Supreme Court has indicated the circumstances in which a court should deny leave to

amend:

         In the absence of any apparent or declared reason—such as undue delay, bad faith or
         dilatory motive on the part of movant, repeated failure to cure deficiencies by
         amendments previously allowed, undue prejudice to the opposing party by virtue of
         allowance of the amendment, futility of the amendment, etc.—the leave sought should, as
         the rules require, be “freely given.”

Foman v. Davis, 371 U.S. 178, 182 (1962). The D.C. Circuit has also noted: “when a plaintiff

has imperfectly stated what may be an arguable claim . . . , leave to amend is ordinarily in order.”

Alley v. Resolution Trust Corp., 984 F.2d 1201, 1207 (D.C. Cir. 1993).

         The District objects to the amendments in two respects: (1) plaintiffs’ addition of Razina

Jones as a named plaintiff, and (2) plaintiffs’ addition of “dozens of paragraphs detailing the

alleged causes and results of the overdetentions and strip searches.” ([186] at 1.)

         First, the Court finds that plaintiffs may amend their complaint to name Razina Jones as a

named plaintiff. This amendment would not unduly prejudice the District. First, it would not

require the District to engage in additional discovery. See Atchinson v. District of Columbia, 73

F.3d 418, 426 (D.C. Cir. 1996) (finding that a court should give weight to “whether amendment

of a complaint would require additional discovery”). Plaintiffs have already submitted signed

interrogatory responses from Ms. Jones. ([174] at 4.) The District has not deposed Ms. Jones,

(id.,) but the District did not notice the depositions of any named plaintiffs ([187] at 3). Thus, the

District is not likely to wish to depose Ms. Jones, even if discovery were not complete. Second,

the District had notice of this amendment long before plaintiffs actually moved to amend their

complaint. Plaintiffs informed the District by letter dated October 6, 2009, that plaintiffs

intended to add Razina Jones as a named plaintiff. ([174] at 4.)

         Second, the Court finds that plaintiffs may amend their complaint to add paragraphs

detailing the facts underlying their legal claims. This amendment would not unduly prejudice the

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District. First, it would not require either party to engage in additional discovery. Atchinson, 73

F.3d at 426. As plaintiffs state, “Nor does the District offer even hints about how the District

would have changed its discovery strategy had it known about the proposed amendments. The

proposed allegations are facts that come from the District, previously disclosed to the District, or

come from Plaintiffs’ experts’ analysis of over detentions and post release strip searches.” ([187]

at 3 (emphasis added).) Thus, not only do the amendments not require additional discovery; they

actually implement the discovery already completed in this case. Second, the Court finds that

there is no “undue delay.” Foman, 371 U.S. at 182. Plaintiffs state that they needed to complete a

deposition “before amending the complaint to clarify their theories of deliberate indifference.”

([174] at 4.) Plaintiffs filed their amended complaint once they had completed that deposition.

Further, the amendment does not add any new legal claims, but rather only clarifies plaintiffs’

original allegations. Third, the Court finds that there is no “bad faith, or dilatory motive on the

part of movant.” Foman, 371 U.S. at 182. Fourth, the Court finds that there is no “repeated

failure to cure deficiencies by amendments previously allowed.” Id. at 182. Plaintiffs have not

moved to file an amended complaint since filing their Second Amended Complaint [12] in 2006.

In this amended complaint, plaintiffs seek to incorporate the discovery that they have acquired

since that time. Plaintiffs, thus, could not have cured any deficiencies in their 2006 amended

complaint. Fifth, the Court finds that the amendment is not futile. The amendment assists the

Court in understanding plaintiffs’ claims. Sixth, the Court disagrees with the District’s primary

objection to the amendment. The District states: “plaintiffs intend to replace certain of their

original allegations with their polar opposites.” ([186] at 2.) In support of this statement, the

District argues that plaintiffs’ Second Amended Complaint states that overdetention problems

stem from problems with the District’s computer system “and for other reasons,” and plaintiffs’



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proposed Third Amended Complaint states that overdetention problems stem from the District’s

failure to use their computer system and reliance on a “sneaker network” instead. (Id.) This

amendment is not the polar opposite of the allegations in the Second Amended Complaint;

rather, it clarifies plaintiffs’ previous statement of “and for other reasons.” For all of these

reasons, the Court finds that the amendment would not unduly prejudice the District. Thus, the

Court will freely give plaintiffs leave to amend their complaint.

       Accordingly, it is hereby

       ORDERED that the motion is GRANTED; and it is furthermore

       ORDERED that plaintiffs’ Third Amended Complaint, filed under seal and captioned

“Second Amended Complaint for Individual Money Damages and Class Injunctive Relief and

Jury Demand,” shall be deemed filed on the public record with a pen and ink correction to the

title page to show that it is the Third Amended Complaint.

       SO ORDERED.

       Signed by Royce C. Lamberth, Chief Judge, on January 20, 2011.




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